       Case 4:19-cv-03815 Document 5 Filed on 10/21/19 in TXSD Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

FIVE OAKS ACHIEVEMENT                           §
CENTER, LLC                                     §
                                                §
                Plaintiff,                      §
                                                §           NO. 4:19-CV-3815
v.                                              §
                                                §           JURY DEMAND
JERRY CRAIG BIBB AND GARY                       §
MCWHORTER                                       §
                                                §
                Defendant.                      §

                      CERTIFICATE OF INTERESTED PARTIES

        Plaintiff Five Oaks Achievement Center, LLC (“Plaintiff”) files this its

Certificate of Interested Parties pursuant to the Order for Conference and Disclosure

of Interested Parties. The following listed persons, associations of persons, firms,

partnerships, corporation, affiliates, parent corporations, or other entities who are

financially interested in the outcome of this litigation.

        These representations are made in order that the Court may evaluate possible

disqualification or recusal.

        The following persons are known to Plaintiff to have a financial interest in the

outcome of this litigation:

        1.      Five Oaks Achievement Center, LLC, 7674 Pechacek Rd, New Ulm, TX

                78950.

        2.      Jerry Craig Bibb, 2131 Blue Water Bay Drive, Katy Texas 77494.

        3.      Gary McWhorter, 7421 Frankford Rd. Apt. 1432, Dallas, Texas 75252.




PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES                                  PAGE 1 OF 2
       Case 4:19-cv-03815 Document 5 Filed on 10/21/19 in TXSD Page 2 of 2



                                         Respectfully submitted,

                                         ROBERTS MARKEL WEINBERG BUTLER HAILEY PC


                                         _________________________________________
                                         FRANK O. CARROLL III
                                         TBA No. 24082785
                                         SARA E. WOLFE
                                         TBA No. 24109688
                                         2800 Post Oak Blvd, 57th Floor
                                         Houston, TX 77056
                                         Telephone: (713) 840-1666
                                         fcarroll@rmwbh.com
                                         swolfe@rmwbh.com
                                         ATTORNEYS FOR PLAINTIFF
                                         FIVE OAKS ACHIEVEMENT CENTER, LLC




PLAINTIFF’S CERTIFICATE OF INTERESTED PARTIES                                PAGE 2 OF 2
